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           10    Attorneys for Defendants City of Reno
           11    and Michael Chaump

           12
                                             UNITED STATES DISTRICT COURT
           13
                                                  DISTRICT OF NEVADA
           14
           15     CATHERINE CASTELLANOS, LAUREN                          CASE NO.: 3:19-cv-00693-MMD-CLB
                  COURTNEY, RACHEL JASPER,
           16     BRIANNA MORALES, VICTORIA
           17     RACHET, LILY STAGNER, NATALEE                          Related Prior Case No.:
                  WELLS, CECELIA WHITTLE, and                                   3:17-cv-00574-MMD-VPC
           18     MARYANN ROSE BROOKS, on behalf of
                  themselves and all other similarly situated,
           19                                                            STIPULATION AND ORDER TO
           20                                                            EXTEND DEADLINE TO RESPOND
                                        Plaintiffs,                      TO MOTION FOR PARTIAL
           21                                                            SUMMARY ADJUDICATION (ECF
                  vs.                                                    NO. 27)
           22
           23     CITY OF RENO and MICHAEL CHAUMP,                       (FIRST REQUEST)
                  in his official capacity as Business Relations
           24     Manager of Community Development and
                  Business Licenses for the CITY OF RENO
           25
                  and DOES I through 10, inclusive,
           26
                                        Defendants.
           27
                                                                    /
           28
   Reno City
   Attorney
 P.O. Box 1900
Reno, NV 89505

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                     Case 3:19-cv-00693-MMD-CLB Document 29 Filed 04/17/20 Page 2 of 2



            1
                        Plaintiffs, Catherine Castellanos, Lauren Courtney, Rachel Jasper, Brianna Morales,
            2
                 Victoria Rachet, Lily Stagner, Natalee Wells, Cecelia Whittle, and Maryann Rose Brooks, by and
            3
                 through their attorney, Mark R. Thierman, and Defendants City of Reno and Michael Chaump,
            4
                 by and through their attorney, Chandeni K. Sendall, hereby agree and stipulate to extend the due
            5
                 date for Defendants to file a responsive pleading to Plaintiffs’ Motion for Partial Summary
            6
                 Adjudication Declaring RMC 5.06.080(b) Void Pursuant to NRS 237.140 (ECF No. 27) from
            7
                 April 30, 2020, to no later than 30 days after the close of discovery (i.e., no later than January 4,
            8
            9    2021). Plaintiffs’ reply memorandum shall be due no later than 14 days after Defendants file their

           10    opposition memorandum. Consistent with Fed. R. Civ. P. 56(d), the extension of this deadline is

           11    requested to allow for the Defendants to engage in relevant discovery, and is not brought for any

           12    improper purpose or undue delay.

           13
                  DATED this      17th       day of April, 2020          DATED this     17th     day of April, 2020
           14
                                                                         KARL HALL
           15                                                            Reno City Attorney
           16
                  By: /s/ Mark R. Thierman                               By: /s/ Chandeni K. Sendall
           17     Mark R. Thierman, Esq.                                 WILLIAM E. COOPER
                                                                         Deputy City Attorney
                  Joshua D. Buck, Esq.                                   WILLIAM J. McKEAN
           18
                  Leah L. Jones, Esq.                                    Deputy City Attorney
           19     THIERMAN BUCK, LLP                                     CHANDENI K. SENDALL
                  7287 Lakeside Drive                                    Deputy City Attorney
           20     Reno, Nevada 89511                                     Post Office Box 1900
                                                                         Reno, Nevada 89505
           21
                  Attorneys for Plaintiffs
           22                                                            Attorneys for Defendants City of Reno and
                                                                         Michael Chaump
           23
           24                                                  ORDER

           25           IT IS SO ORDERED.

           26           Dated this _______ day of _______________________. 2020.
           27
           28
                                                                  UNITED STATES DISTRICT JUDGE
   Reno City
   Attorney
 P.O. Box 1900
Reno, NV 89505

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